         Case 1:17-cv-04853-JSR Document 162 Filed 02/01/22 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SARAH PALIN, an individual,
                                                         No. 17 Civ. 4853 (JSR)
        Plaintiff,
                                                         ECF Case
    –v–

 THE NEW YORK TIMES COMPANY,
 a New York corporation, and
 JAMES BENNET, an individual,

        Defendants.


                     JOINT UPDATED TRIAL WITNESS DISCLOSURE

       Pursuant to the Court’s instruction on January 24, 2022, Plaintiff, Sarah Palin, and

Defendants, The New York Times Company and James Bennet, hereby make their updated trial

witness disclosure and states as follows:

              WITNESS LIST IN THE LIKELY ORDER OF APPEARANCE

       1.      Elizabeth Williamson
       2.      Phoebe Lett
       3.      Eileen Lepping
       4.      Linda Cohn
       5.      James Bennet
       6.      Justin Stile
       7.      Ross Douthat [Will not be called until the morning of February 8, 2022 at earliest]
       8.      Andrew Sullivan (Video Depo)
       9.      Tim Crawford (Video Depo)
       10.     Gov. Sarah Palin
       11.     Hanna Ingber
       12.     Danielle Rhoades Ha
       13.     Sebastian Tomich
         Case 1:17-cv-04853-JSR Document 162 Filed 02/01/22 Page 2 of 3




       The parties reserve the right to amend or supplement these disclosures to the extent

necessary and permitted due to witness availability issues or other unforeseen circumstances..

 February 1, 2022.                                  Respectfully submitted,

 For Plaintiff:                                     For Defendants:

 TURKEL CUVA BARRIOS, P.A.                          BALLARD SPAHR LLP

 /s/ Shane B. Vogt                                  By: /s/ David L. Axelrod
 Kenneth G. Turkel (admitted pro hac vice)              David L. Axelrod
 Email: kturkel@tcb-law.com                             Jay Ward Brown
 Shane B. Vogt (admitted pro hac vice)                  Thomas B. Sullivan
 Email: svogt@tcb-law.com                               Jacquelyn N. Schell
 100 North Tampa Street, Suite 1900                 1675 Broadway, 19th Floor
 Tampa, Florida 33602                               New York, NY 10019-5820
 Tel: (813) 834-9191                                Phone: (212) 223-0200
 Fax: (813) 443-2193                                Fax: (212) 223-1942
                                                    brownjay@ballardspahr.com
 Michael M. Munoz                                   axelrodd@ballardspahr.com
 E-mail: mmunoz@golenbock.com                       sullivant@ballardspahr.com
 Golenbock Eiseman Assor Bell & Peskoe LLP          schellj@ballardspahr.com
 711 Third Avenue
 New York, NY 10017                                 Counsel for Defendants
 Tel: (212) 907-7300
 Fax: (212) 754-0330

 Counsel for Plaintiff




                                                2
         Case 1:17-cv-04853-JSR Document 162 Filed 02/01/22 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that the Joint Updated Trial Witness Disclosure was filed electronically on
February 1, 2022. This Notice will be sent by operation of the Court’s electronic filing system to
counsel of record for all parties as indicated on the electronic filing receipt. Parties and their
counsel may access this filing through the Court’s system.

                                             /s/ Shane B. Vogt
                                             Attorney




                                                3
